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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES - GENERAL
Case No. 2:19-cv-00495-RGK-JC Date January 31, 2020

 

 

Title Marina Pahomova v. Maxim Inc. et al

 

 

Present: The Honorable R. GARY KLAUSNER, UNITED STATES DISTRICT JUDGE

 

 

Sharon L. Williams Not Reported N/A
Deputy Clerk Court Reporter / Recorder Tape No.
Attorneys Present for Plaintiff: Attorneys Present for Defendants:
Not Present Not Present
Proceedings: (IN CHAMBERS) Order Re: Stipulation to Dismiss Four Parties With

Prejudice (DE 74)

On January 22, 2019, Plaintiff Marina Pahomova (“Pahomova’”) filed a Complaint against
Defendants Maxim, Inc. (“Maxim”); Brian B. Hayes (“Hayes”); Nickie Bogart (“Bogart”); Dirk
Steenekamp (“Steenekamp”); DHS Media Group (“DHS”); Untapped World Publishing, Ltd.
(“World”); and Swimwear Network International, LLC (“Swimwear”).

On March 5, 2019, Hayes and Bogart filed an Answer and Counterclaim in which Hayes asserted
various counterclaims against Pahomova.'

On April 24, 2019, Maxim filed an Answer and Cross-Complaint, asserting two crossclaims
against Hayes, Bogart, Steenekamp, DHS, World, Swimwear, and a new party to the action—917PR.
Maxim then filed a Notice of Dismissal on May 24, 2019 which dismissed Maxim’s crossclaims against
Hayes, Bogart, Swimwear, and 917PR. At this point, Maxim asserted crossclaims against only
Steenekamp, DHS, and World.

On January 28, 2020, Pahomova, Steneekamp, World, DHS, and Maxim (collectively, the
“Settling Parties”’) filed a stipulation explaining that the Settling Parties had settled all claims between
them and asking that the Court retain jurisdiction to enforce their settlement agreement. The following
day, the Settling Parties filed a joint stipulation for partial dismissal with prejudice, asking that the Court
dismiss their claims against each other with prejudice (“Stipulation to Dismiss”).”

 

' Hayes and Bogart filed a First Amended Answer and Counterclaim on May 6, 2019.
* Steenekamp, World, and DHS have not appeared in this action.

 

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Hayes and Bogart filed an objection to the Settling Parties’ Stipulation to Dismiss. Hayes and
Bogart make several procedural arguments as to why the Court should strike the Stipulation to Dismiss.
The crux of their argument appears to be that the Court should not dismiss the entire action with
prejudice because not all parties have stipulated to a dismissal.

Clearly, the Court will not dismiss the entire action when live claims remain against certain
parties. However, the Court sees no reason not to grant the Stipulation to Dismiss. Accordingly, the
Court GRANTS the Stipulation to Dismiss and DISMISSES with prejudice all claims between
Pahomova, Maxim, Steenekamp, DHS, and World.

IT IS SO ORDERED.

 

Initials of Preparer

 

 

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